928 F.2d 397
    U.S.v.Lee (Chau), t/a Foo Da Chinese Restaurant, Hunt (Kenneth),t/a P &amp; S Grocery, Logan (Charles), Pyung Il Shin, Kil JungShin, t/a Plus Pawn Shop, Triple Seven Market, Conyer(Leonard), t/a Mr. Action and Sons; Conyer (Leonard), t/aMr. Action and Sons
    NO. 90-1555
    United States Court of Appeals,Third Circuit.
    FEB 26, 1991
    
      Appeal From:  E.D.Pa.,
      Gawthrop, J.
    
    
      1
      AFFIRMED.
    
    